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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
                 v.                       :       Case No. 23-mj-239 – ZMF - JEB
                                          :
EDWARD RICHMOND, JR.                      :
                                          :
                 Defendant.               :

      MEMORANDUM OF EDWARD RICHMOND, JR. IN OPPOSITION TO THE
 GOVERNMENT’S EMERGENCY MOTION FOR STAY AND REVIEW OF RELEASE ORDER

       Edward Richmond, Jr. has been charged by Complaint – not indictment – with

allegedly violating six separate statutes from the United States Criminal Code. Three of the

statutes are misdemeanors. None of the three felonies are Class A or B felonies. They are

Class C or lower.1 Of the six charges against Mr. Richmond, three of them are based on the

same statute – 18 U.S.C. §1752.

       Mr. Richmond was arrested without incident on January 22, 2024, in Baton Rouge,

Louisiana. His initial appearance pursuant to FRCRP Rule 5 was held on January 24th before

United States Magistrate Judge Erin Wilder-Doomes in the Middle District of Louisiana. Mr.

Richmond waived his identity hearing and preliminary hearing. [Exhibit A – See attached

DOC. 4 – United States v. Edward Richmond, Jr., 24-mj-00006-UNA – from the Middle District

of Louisiana.]

       The Government moved for detention under 18 U.S.C. §3142(f)(1)(A) on the basis

that the offense charged was a crime of violence. The Government also moved for detention



1 Pursuant to 18 USC §3561, the defendant, if found guilty, would be eligible for probation

because none of the felonies are Class A or B felonies. Of course, any sentence the defendant
may receive would be subject to the United States Sentencing Guidelines and the discretion
of the Court.


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under §3142(f)(1)(E) in that there was a use of a dangerous weapon (a baton). Finally, the

Government sought detention under §3142(f)(2)(A) alleging that Mr. Richmond was a

serious risk of flight.

        The Court took notice of the factual information contained in the bond report.

        The Government called FBI Agent Chandler Hudspeth and introduced six exhibits.

        The Defense proffered information for the Court and introduced three exhibits.

        The Court took a one hour recess to review the exhibits and to meet with the United

States Pretrial Services Officer.

        After the recess, the Magistrate Judge ruled that the Government did not prove that

Mr. Richmond was a flight risk or a danger to others in the community. The Court held that

conditions exist that will reasonably assure his appearance, and the safety of others in the

community. The United States appealed.

Background

        Over two years ago, on January 24, 2022, undersigned counsel was contacted by

Edward Richmond. Mr. Richmond had been told that the FBI was looking for him. Mr.

Richmond contacted undersigned counsel to set up a meeting with the FBI agent. On January

24th, I sent an email to FBI Special Agent Kaitlan Carey. A copy of that email was introduced

into evidence at the detention hearing and a copy is attached hereto as Exhibit B. The email

read:

        “Hello Special Agent Carey: I was contacted by Edward Richmond, who I
        believe you were trying to locate last week. Please give me a call if you still
        want to talk to him. Thanks.”




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       In response to this, the following day, SA Carey emailed undersigned counsel letting

me know that the case agent was Heang Ly and provided an email for Agent Ly. [Also see

Exhibit B]

       Later that same day, January 25, I emailed Agent Ly. [Copy attached as Exhibit C.] (Note

there is a typographical error in the email to Agent Ly when I referred to him as “Agent

Richmond” when I should have referred him to Agent Ly.) In the email I reiterated that we

were informed that someone from the FBI was looking for Mr. Richmond and stated, “if you

are still interested in talking to Mr. Richmond, please give me a call.” There was no reply email

or call from Agent Ly or anyone else in the FBI.

       Eighteen months passed before the Government reached out to Mr. Richmond or

undersigned counsel. On or about June 20, 2023, I received notice that AUSA Victoria Anne

Sheets was trying to contact Mr. Richmond. I requested that my paralegal, Tina Truett find

contact information on Ms. Sheets and on June 20, 2023 Ms. Truett emailed me the contact

information for Ms. Sheets. [See Exhibit D] I called Ms. Sheets and introduced myself and

again reiterated that I represented Mr. Richmond and he was available if they wanted to talk

to him. Ms. Sheets acknowledged as much. I never received another phone call from her or

anyone with the federal government. Seven months later, Mr. Richmond was arrested in

Baton Rouge on the above mentioned criminal complaint.

Arrest of Edward Richmond, Jr.

       FBI agent Chandler Hudspeth testified at the detention hearing that he, with

approximately 25 other law enforcement officers, arrested Mr. Richmond on the morning of

January 22nd outside of this apartment. Agent Hudspeth testified that they saw Mr. Richmond

leave his apartment that morning with his son and return shortly thereafter. When Mr.



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Richmond got out of the truck he was arrested without incident. Agent Hudspeth agreed at

the hearing that Mr. Richmond did not struggle, fight, or attempt to flee. He was cooperative,

polite, and honest. He told the agents that there was a gun in his apartment.

       Agent Hudspeth also testified that they had been watching Mr. Richmond for some

time. Specifically, they saw him at one or more high school football games. His son, Zade

plays football for Southern Lab University in Baton Rouge, Louisiana. The agents followed

Mr. Richmond from the football stadium back to his apartment, apparently on more than one

occasion.

       The Government alleges in their Motion that Mr. Richmond was living “off the grid.”

This simply is not true. First, the Government makes an issue about Mr. Richmond not having

a Louisiana driver’s license. Although he does not currently have a Louisiana driver’s license,

(due to a lapse in car insurance)2 he does have a current Louisiana personal ID card a copy

of which is attached as Exhibit F. It was never explained by any witness for the Government

why they were not aware of this personal ID. The address on the personal ID is 15033

Cocodrie, which is in Baton Rouge. This house is owned by Mr. Richmond’s parents. There

was no testimony at the hearing as to any efforts made by the FBI to go to this address. Mr.

Richmond moved to his current address so that his son could attend Southern Lab High

School. Families are required to live within the district of the school in order for their

children to be enrolled in school and play sports.

       Mr. Richmond is also a licensed electrician. Attached as Exhibit G is a copy of his City

of New Orleans trade license. As an electrician he is the “qualifying party” for his father’s



2
 See Exhibit E – Documentation from LA DPS Office of Motor Vehicles regarding Mr.
Richmond’s LA Driver’s License.


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business, Baton Rouge Air, LLC. (See Exhibit H). This report is a public record from the State

Licensing Board for Contractors and it reflects this information. Also enclosed is a printout

from the Louisiana Secretary of State’s website for the family company, Baton Rouge Air, LLC.

Towards the bottom of page 1 and the top of page 1, Edward Richmond, Jr. is listed as an

officer of the corporation. Again, this is a public record. (See Exhibit I)

               The Government also questions the fact that Mr. Richmond was driving a truck

that was not registered in his name but instead was registered in the name of a company. As

the Court will see when reviewing the Pre-Trial Services Report3 submitted to the Magistrate

Judge, Mr. Richmond has been employed since 2007 with Solar Solutions, also known as

Richmond Air, a company owned by this father. Attached is a “Certificate of Title” for the Ford

truck that Mr. Richmond was driving. [Exhibit J] The truck is titled in the name of Solar

Solutions, LLC, which is a company owned by his father.

       The FBI had been conducting surveillance on Mr. Richmond since September 29, 2023

(See Exhibit K – which is a page from a search warrant application filed by the United States

Attorney’s Office for the Middle District of Louisiana seeking a warrant to search Mr.

Richmond’s apartment.) Although at the original detention hearing the prosecutors made

an issue about Mr. Richmond driving a truck not registered to him, they were well aware that

the vehicle he was driving was registered to Solar Solutions, LLC. This is a company that Mr.

Richmond is employed by and serves as one of their registered officers.

       It is not uncommon, and in fact it is frequently the case, that employees will drive

company trucks not only for work but for personal use – especially in family owned



3 Undersigned counsel is not attaching the Pre-Trial Services Report to this Memorandum.

It is assumed that the Court will have the Pre-Trial Services Report.


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companies. A printout from the Louisiana Secretary of State for Solar Solutions, LLC is

attached. [Exhibit L] It reflects Edmond Richmond, Jr. as an officer. As with all the other

documents this is a public record and easily accessible.

       Likewise, the Government tried to make an issue out of the fact that Mr. Richmond

does not have utilities in his name. Attached is a copy of a lease which Mr. Richmond entered

into with his landlord for the lease of his apartment. As the Court can see by reviewing the

lease, the bottom of the second page number 4 shows that utilities are included. [Exhibit M].

       Also attached [Exhibit N] is the Cox Cable bill for Mr. Richmond at his apartment on

161 WK Gordon St.

       The Government alleges that Richmond had no traceable income (See page 17 of

Government’s Motion). Attached as Exhibit O are Federal income tax returns (without

schedules) filed by Mr. Richmond for the years 2021 and 2022.

       The Government would also have the Court believe that Mr. Richmond was living “off

the grid” while having a son enrolled in a local high school, Southern Lab High School and

attending his football games every Friday night. No doubt the faculty and administration as

well as the coaches at the school would have contact with Mr. Richmond, especially since he

is the sole caregiver for his son. It is hard to understand how someone can live “off the grid”

when he has a 16 year old son enrolled in school and he has maintained fulltime employment

since 2007.

Criminal History

       It is true that 23 years ago, when Mr. Richmond was 17 years old, he got into some

trouble. He was not prosecuted for it, but instead was accepted in a District Attorney’s

Pretrial Diversion Program.



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       It is also true that approximately 20 years ago, when he was 20 years old, while

serving in the United States Army in Iraq, Mr. Richmond was found guilty of manslaughter

and given a three year sentence. He was originally charged with murder and was facing a life

sentence. The jury returned a verdict of manslaughter and he received a three year sentence.

As the Pretrial Services Report reflects, he was released on parole and on August 4, 2007, he

successfully completed his supervision.4

       Finally, 12 years ago Mr. Richmond was involved in some type of altercation with his

wife and was arrested. The District Attorney’s Office nolle prossed the case.

       For the past 12 years Mr. Richmond has not been arrested or charged with any

criminal activity.

       The Government’s Motion goes into exquisite detail about the incidents which

happened on January 6, 2021. Mr. Richmond is not on trial. This is a hearing under the Bail

Reform Act to determine if there are conditions which can be imposed on Mr. Richmond to

ensure that he is not a flight risk and to ensure the safety of the community. §3142(j) reads:

“Nothing in this section shall be construed as modifying or limiting the presumption of

innocence.” And, as noted above, he has not been indicted by a Grand Jury.

Bail Reform Act

       This is not a presumption case. §3142(e) sets forth two situations where it is

presumed that no combination of conditions will reasonably assure the safety of any other

person and the appearance of the defendant. That is not applicable here.




4 This conviction is so old that if Mr. Richmond were to go to trial on these charges, it is

doubtful that it would be admissible at trial. See FRE 609(b).


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       The Court has several options. The first is release on personal recognizance or upon

execution of an unsecured bond. The second is release on a condition or combination of

conditions. Examples of conditions are set forth in §3142(c)(1). Congress stated that these

should be the “least restrictive” conditions. However, as undersigned counsel told Magistrate

Judge Wilder-Doomes, Mr. Richmond could and would abide by all of the conditions set forth

in §3142(c).

Flight Risk

       There is no persuasive evidence that Mr. Richmond is a flight risk. The Government

argues on page 17 of their Motion that Mr. Richmond did not “proactively approach the FBI

and turn himself in.” This is not true. On 3 occasions we reached out to the FBI and the AUSA

and no one responded to us.

       Mr. Richmond has maintained fulltime employment since 2007. He has lived in Baton

Rouge. He has a lease on an apartment. He is a licensed electrician. He has filed taxes. He is

also an officer in two of his father’s companies.

       However, the number one factor that shows that he is not a flight risk is his 16 year

old son, Zade. Unfortunately, Zade’s mother is not involved in his life. Edward is the sole

provider and caregiver for Zade. Even the FBI testified that they watched Mr. Richmond go

to his son’s football games. On the morning he was arrested he had just dropped his son off

at school. It is ludicrous to suggest that Mr. Richmond was flee the jurisdiction of this Court

or any Court and leave his son alone.5




5 Zade’s grandparents are elderly and live an hour and a half away.



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Danger to the Community

       The Government relies on antiquated incidents in Mr. Richmond’s life to argue that he

is a danger to the community. His last criminal conduct was over 20 years ago, in 2004. The

burden on this element is clear and convincing evidence. In United States v. Munchel, 991

F.3d 1273 (2021), the Court held that when the Government proves by clear and convincing

evidence that an arrestee presents an identified and articulable threat to an individual or

community, the Court may disable the arrestee from executing that threat. However, as the

Court in Munchel stated this threat “must be clearly identified.” There is no current identified

or articulable evidence that Mr. Richmond is a threat to any individual in the community.

Twenty years ago he was convicted of a crime of violence. Three years ago, he was involved

in the January 6th incident at the United States Capitol. There is not one shred of evidence

that in the last three years he has engaged in any type of violence or crimes. He has simply

worked and raised his son.

       In United States v. Patriarca, 948 F.2d 789 (1st Cir. 1991) the Government was

prosecuting an alleged Mafia boss on various RICO offenses. The Court denied detention and

remanded for further fact finding. Importantly, the Court held that although in theory a Mafia

boss can be an intimidating, highly dangerous character, the Government had not

demonstrated that this boss posed a significant danger, or at least not a danger that could be

overcome given appropriate conditions. Likewise in this case the Government has a theory

that Mr. Richmond could be a dangerous person but they have not demonstrated that he is a

significant danger.




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       There are several other things this Court should take into consideration when

deciding this matter. First, in no sense was Mr. Richmond a leader or organizer of any events

which occurred on January 6th.

       In United States v. Tarrio, 605 F.Supp.3d 73 (2022) the Court, citing Munchel, supra

noted that those who “aided, conspired with, planned, or coordinated the events of January

6th are in a different category of dangerousness then many others present that day.” Tarrio at

p. 81. While the evidence shows that Mr. Richmond was there that day, the Government has

put forth no evidence that he planned or coordinated the events.

       As the prosecution alleges in their Motion, Mr. Richmond was near the lower west

terrace tunnel starting at about 3:15 p.m. However, others, (not Mr. Richmond)first started

breaking through the police lines two hours earlier at 1:00 p.m. (See attached Exhibit P

which are pages from an application for search warrant filed by the United States Attorney’s

Office for the Middle District of Louisiana seeking a warrant to search Mr. Richmond’s

apartment.) The search warrant goes into detail about the events of January 6th. In paragraph

20 of this application, it reflects that at 2:00 p.m. people in the crowd forced their way over

the barricades and shortly after 2:00 p.m. entered the Capitol Building. At 2:30 p.m.,

unknown subjects broke windows and pushed past the Capitol Police. As noted above, Mr.

Richmond does not arrive until 3:15 p.m. and at no time did he go into the Capitol Building.

He did not smash windows. He did not vandalize anything.

       The Government also tries to lead this Court to believe that Mr. Richmond came to

Washington, DC dressed in his gear for the sole purpose of storming the Capitol. Yet their

own witness tells a different story. Confidential Witness (CW-1) was interviewed by the FBI

on April 20, 2021. CW-1 stated she/he had traveled to DC from Ohio with a group of 9 other



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individuals who planned to attend the rallies planned for the day. (See Exhibit Q , pages

15,16, and pages 38 from the Government’s Application for search warrant.) She/He

identifies Richmond as a member of the security team she/he hired. Specifically, page 38 of

the Application for Search Warrant reads: “Due to their experience at a prior political rally,

CW-1 arranged for a group of individuals to provide security for CW-1 and their travel

companions.”

       Edmond Richmond did not show up in Washington, DC on January 6th with the intent

to attack the Capitol. He was there to provide security to CW-1 and her entourage.

       Nor did Mr. Richmond post anything on any social media, emails, podcasts, or the like,

talking about, boasting, or bragging about what happened on January 6th. United States v.

Farilamb, 535 F.Supp.3d 30 (2021) where the defendant made numerous posts on Facebook

and other social media platforms, bragging, and boasting about what he did. He showed no

remorse and said that he would do it again. The Government has put forth no evidence

against Mr. Richmond along those lines. 6 Others who have been prosecuted in cases like this

have done such things. Mr. Richmond did not. The federal prosecutors in Baton Rouge

obtained a search warrant for Mr. Richmond’s apartment in hopes that they would find some

evidence of him participating in the January 6, 2021 events in Washington, DC. In their

search warrant they cite 28 examples of other people who were arrested and whose

residences were searched. In those examples the agents found things like MAGA hats,

goggles, helmets, gloves, jackets, and other gear. A search of Mr. Richmond’s apartment

turned up none of those items.



6
 CW-1 (not Edward Richmond) is the person who posted pictures of herself/himself on
social media. See Criminal Complaint, page 3.


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                                         CONCLUSION

       If Mr. Richmond is released on conditions he will be required to report to a pretrial

services officer. He has already met with the officer twice. If Mr. Richmond does not abide

by any conditions, the Government may at any time while on release file a Motion for

Revocation of the Order with the Court pursuant to 18 U.S.C. §3145(a).

       “In our society liberty is the norm, and detention prior to trial or without trial
       is the carefully limited exception.” United States v. Salerno, 481 U.S. 739 (1987).

       “There can be no doubt that this act [the Bail Reform Act] clearly favors non-
       detention. United States v. Byrd, 969 F.2d 106 (5th Cir. 1992).

       In this non-presumption case, the Government must prove by a preponderance of the

evidence that Mr. Richmond is a flight risk and no condition or combination of conditions can

overcome that. They must also prove by clear and convincing evidence that Mr. Richmond

presents an identified and articulable threat to an individual or the community.

       The Government has not and cannot meet either burden. Certainly, there are any

number of conditions that this Court can impose on Mr. Richmond to reasonably assure his

appearance and the safety of the community.

this case only.


Respectfully Submitted by:
 /s/David E. Kindermann                          /s/ John S. McLindon
 DAVID E. KINDERMANN                             JOHN S. MCLINDON
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 Fax: 717-621-2681                               Cell: (225) 603-6493
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 Email: dkindermann@jezicfirm.com                APPLICANT FOR ADMISSION
 LOCAL COUNSEL                                   PRO HAC VICE



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                                  CERTIFICATE OF SERVICE

        I hereby certify that under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct and a copy of this Memorandum of Edward

Richmond, Jr. in Opposition to the Government’s Emergency Motion for Stay and Review

of Release Order was delivered via electronic mail to Assistant US Attorney, Victoria A. Sheets,

vsheets@usa.doj.gov and any other known interested parties, on this the 26TH day of January,

2024.

                                            /s/John S. McLindon
                                            JOHN S. MCLINDON




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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           Magistrate No. 24-MJ-6-UNA

-vs-                                               AUSA: Lyman E. Thornton, III

EDWARD RICHMOND, JR.

  JUDGE:              Erin Wilder-Doomes          DATE:                  January 23, 2024

  DEPUTY CLERK:       Brandy Lemelle Route        TAPE/REPORTER:

  INTERPRETER:                                    PRETRIAL/PROBATION:    Joseph Molyneaux
                                                                         Megan L. Shields


                                  RULE 5(c)(3) HEARING

       John S. McLindon made an appearance on behalf of Defendant Edward Richmond,

Jr. (“Richmond”).

       Competency was established. Richmond was advised of his rights and the purpose of

this hearing on charges pending in the District of Columbia.

       The defense waived formal reading. The court summarized the Criminal Complaint

to Richmond, advising him of the substance of the pending charges.

       The government moved for a detention hearing under 18 U.S.C. §3142(f)(1)(A) on the

basis that the offense involves a crime of violence, 18 U.S.C. §3142(f)(1)(E) on the basis that

the offense involves the possession of a dangerous weapon, and 18 U.S.C. §3142(f)(2)(A) on

the basis that Richmond is a serious risk of flight based on attempts to evade law enforcement

and lack of identification documentation.

       Richmond was advised of his right to identity and preliminary hearings, and transfer

of the case to this district under Fed. R. Crim. Proc. 20.


                                                                                 A


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          Richmond completed the Waiver of Rule 5 and 5.1 Hearings, confirming waiver of

identity and preliminary hearings and requesting that the detention hearing be held in the

Middle District of Louisiana. The waiver was filed with the court.

          The Court took judicial notice of the factual information contained in the bond

report.

          FBI Agent Chandler Hudsbeth was sworn and testified on behalf of the government.

          Government Exhibits US-2, US-3-a, US-3-b, US-3-c and US-4 were offered and

admitted without objection.

          The defense cross-examined Agent Chandler Hudsbeth.

          The government redirected.

          Government Exhibit US-3d was offered and admitted without objection.

          The government rested.

          The Defense proffered information to the court.

          Defense Exhibits D-1 through D-3 were offered and admitted without objection.

          The parties presented argument.

          The court took a recess to review admitted exhibits and to meet with the United States

Pretrial Services Office.

          In accordance with Fed. R. Crim. Proc. 5(f), the Court confirmed the United States’

disclosure obligations pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny,

and ordered the government to comply. The government was advised that failure to comply

may result in the imposition of consequences by the court. The government expressed

understanding. A separate, order will also issue.




US v. Edward Richmod 23-mj-239-ZMF-JEB                                       Exhibit A    2 of 4
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       For oral reasons given, the court found that the government did not meet its burden

of establishing by a preponderance of the evidence that Richmond is a risk of flight or by

clear and convincing evidence that Richmond is a danger to others or the community because

conditions exist that will reasonably assure his appearance and the safety of others and the

community.

       With regard to the risk of nonappearance, the government primarily relies on lack of

a driver’s license, expired Louisiana ID with an incorrect address, the change to his phone

number shortly after the events of Jan. 6, 2021 and the fact that law enforcement went to

several addresses available through open source while attempting to locate Richmond but

did not find him at any of those. However, the defense provided documentation of attempts

to contact law enforcement and the prosecutor involved in the case as early as January 2022

offering to put law enforcement in contact with Mr. Richmond (Defense Exh. D-1). While

law enforcement undoubtedly had reasons for not accepting counsel’s offer, having a lawyer

contact law enforcement does not suggest an effort to flee or avoid prosecution. Also, having

a minor child in high school for whom he appears to be the sole caregiver minimizes the risk

that Richmond would attempt to flee.

       While nature and circumstances of the offense and weight of the evidence weigh in

favor of detention, history and characteristics of the defendant is neutral with information

weighing in favor of and against release. With regard to the nature and seriousness of the

danger Richmond poses overall, on one hand Richmond appears to be a loving father to his

son. On the other, he has a conviction for a crime of violence from 2005 and he is currently

charged with a crime of violence. However, the government appears to have had information

for two years that could have allowed it to contact with Richmond sooner. Again, while there




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may be good reasons for the government not to move quickly, that certainly suggests that

Richmond may not be the threat the government now argues he is. Finally, regarding

Richmond’s alleged firearm possession as a prohibited person, any release conditions would

necessarily include a restriction from the possession of firearms.

       Edward Richmond, Jr. was ordered RELEASED with conditions.

       The court reviewed the conditions of release with Richmond, which he signed. The

court then reviewed the consequences of a release violation.

                                           ************




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                                              Driver License Status Inquiry




                            Louisiana Department of Public Safety
                                    Office of Motor Vehicles
                                        P.O. Box 64886
           .tot"                 Rolm] Rouge, Louisiana 70896
           nallso


 Louisiana Office of Motor Vehicles Driver Reinstatement Status


 DRIVER'S LICENSE NUMBER -             6716



 YOUR VEHICLE REGISTRATION AND DRIVER'S LICENSE ARE BLOCKED BECAUSE OUR
 RECORDS SHOW POLICY NUMBER 941457835 WITH
 PROGRESSIVE PALOVERDE INSURANCE COMPANY ON YOUR 2000 TOYT VIN#
 4TASN92N7YZ6 13002 CANCELLED ON 11/08/2022. SINCE THE VEHICLE WAS
 DISPOSED OF MORE THAN 10 DAYS AFTER THE POLICY CANCELLED, YOU
 MUST PAY OMV A REINSTATEMENT FEE OF $525.00 IN ORDER TO REINSTATE THIS
 BLOCK.


 IF YOU HAVE MORE THAN ONE CANCELLATION. AND YOU REINSTATE YOUR CANCELLATIONS
 ON THE SAME DAY, THE MAXIMUM REINSTATEMENT FEE FOR ALL CANCELLATIONS WILL BE
 $850.00 PLUS AN ADDITIONAL $25.00 ADMINISTRATIVE FEE PER CANCELLATION.


 HOWEVER, THE MAXIMUM FEE OF $850.00 DOES NOT APPLY TO ANY CANCELLATIONS THAT
 HAVE BEEN FORWARDED TO THE OFFICE OF DEBT RECOVERY. IN THE LATER CASE, ALL
 FEES ARE OWED WITHOUT ANY REDUCTION OR LIMIT EVEN IF MULTIPLE CANCELLATIONS
 ARE CLEARED ON THE SAME DAY.


 R.S.32:429 AUTHORIZES AN ADDITIONAL OFFICE FEE TO BE ASSESSED FOR
 REINSTATEMENTS PROCESSED BY CERTAIN MOTOR VEHICLE OFFICES.


 WE HAVE PROVIDED YOU WITH THE REINSTATEMENT REQUIREMENTS OF THE DRIVING
 RECORD YOU REQUESTED. IN THE EVENT YOU HAVE RECEIVED VIOLATIONS THAT DID
 NOT CONTAIN SUFFICIENT INFORMATION FOR OUR OFFICE TO ASSOCIATE WITH THIS
 DRIVING RECORD. ADDITIONAL REQUIREMENTS MAY BE REQUIRED FOR CLEARANCE. THIS
 STATUS LETTER REFLECTS YOUR DRIVING RECORD AT THIS TIME AND IS SUBJECT TO
 CHANGE IF ADDITIONAL INFORMATION IS RECEIVED.




          HOME




          PRINT
                                                                                           E


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                                       DEPT OF PUBLIC SAFETY & CORRECTIONS,
                                 PUBLIC SAFETY SERVICES OFFICE OF MOTOR VEHICLES


             Mailing Address:
             Office of Motor Vehicles
             P.O. Box 64886
             Baton Rouge, LA 70896


             Physical Address:
             Office of Motor Vehicles
             7979 Independence Blvd.
             Baton Rouge, LA 70806




Technical Support:
888-214-5367




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                                                                 F



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                                                                  G



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                                                                H



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                                                                      I


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                                                           J




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 or Dangerous Weapon); 18 U.S.C. § l 752(a)(4) and (b)(l)(A) (Engaging In Physical Violence in

 a Restricted Building or Grounds with a Deadly or Dangerous Weapon), and 40 U.S.C. §

 5104(e)(2)(F) (Engaging In Physical Act of Violence in Grounds or Capitol Building) (the

 "Target Offenses") have been committed by RICHMOND and other identified and unidentified

 persons.

        56.    There is also probable cause to search the PREMISES, further described in

 Attachment A, for the things described in Attachment B.

        57.    On September 29, 2023, FBI conducted surveillance on Edward RICHMOND Jr.

 That evening, between the hours of 6:01 PM and 10:40 PM, RICHMOND was observed by law

 enforcement driving a gray Ford F-150 truck with Louisiana license plate   377. The vehicle

 is registered to Solar Solutions LLC at 11639 Homeport Drive, Maurepas, LA 70449.

 RICHMOND is one of the registered officers of Solar Solutions LLC. At approximately 10:40

 PM, RICHMOND was observed in his vehicle parked in the parking lot in front of 761 W. K.

 Gordon Street, Baton Rouge, Louisiana. At approximately, I 0:50 PM, an individual matching

 the description of RICHMOND was standing on the balcony outside of apartment 4.          On

 December 6, 2023, FBI agents interviewed members of the apartment management team that

 owns 761 W.K. Gordon Street, Triad Group LLC.         A representative of Triad Group LLC

 informed a law enforcement agent that RICHMOND occupies Apartment 4 of761 W. K. Gordon

 Street in Baton Rouge, Louisiana.        On January 5, 2024, law enforcement observed

RICHMOND's vehicle parked and vacant in the parking lot of the 761 W. K. Gordon Street,

Baton Rouge, LA. Based upon the surveillance conducted by FBI, and the interview conducted



                                              30

                                                                                   K


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                                                                    L


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                                                       M




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 (NOT FOR PAYMENTS)
 DEPARTMENT# 102430
 PO BOX 1259
                                                                                          CONTACT US:           e    cox.com/chat
 OAKS. PA 19456                                                                                                 ~    cox. com/mybill
 6400 02 10 NO RP 26 04262023 NNNNNNNY 01 994902

 Edward Richmond                                                                                                ~    225-61 5-1 000

 BATON ROUGE LA 70807-3761
                                                                                          Accoun t Number                      7414
                                                                                          COX PIN
                                                                                          SERVICE ADDRESS

                                                                                                                BATON ROUGE, LA 70807-3761


   ACCOUNT SUMM ARY as of Apr 26. 2023                                                   ~ New Cox Mobile is officially here. If you're
   Previous Balance                                                         $0.00             feeling overlooked by your mobi le company, now
   Remaining Previous Balance                                               $0.00             is the perfect time to make the switch. Learn
                                                                                              more at cox.com/mo bile or by visiting your local
   New Charges: Apr 26, 2023 - May 25, 2023
                                                                                              Cox Store . We're different because you're
   Internet                                                             $133.98
                                                                                              different.
   One Time Charges and Cred it_:>                                        $94.00
  Taxes, Fees and Surcharges                                               $1.67
   New Charges                                                          $229.65
  Total Due By May 18, 2023                                             $229.65




                                                                                                 Thank you for being a Cox Paperless customer!




co x.
                                                                                     April 26, 2023 bill for Edward Richmond
                                                                                     Account Number
                                                                                     Service at

                                                                                                           BATON ROUGE, LA 70807-3761
     Save Time! Save Maney! Take control! Enroll in EosyPay- once you sec it
     you'll never forger ir. Your bill is oucomotically paid each month on the day
     it 's due. Sign up codoy otwww.cox.com/ibill!
                                                                                     Total Due By May 18, 2023                               $229.65




                                                                                     {NOT FOR CORRESPONDENCE)
                                                                                     COX COMMUNICATIONS
                                                                                     PO BOX 9001079
                                                                                     LOUISVILLE, KY 40290-1079

                                                                                                                                      N

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                                                                                          Decem be r 26, 2023                          Page 1of4

                                                                ~
 (NOT FOR PAYMENTS)
 DEPARTMENT# 102430
                                                                                          CONTACT US:           El    cox.com/chat
                                                                ~~
 PO BOX 1259
 OAKS, PA 19456                                                                                                 ~     cox.com/mybill
 6400 0210 NO RP 26 12262023 YNNNNNNY 01 996341

 Edward Richmond



                                                                                          Account Number
                                                                                          COX PIN
                                                                                          SERVICE ADDRESS




   ACCOUNT SUMMARY as of Dec 26, 2023                                                     ~   The rate you pay for your service may be
   Previo us Balance                                                      $75.66              changing on your n ex t bil l. Please see News
   Remai ning Pr evious Balance                                           $75.66              From Cox or t he Bill Messaging Center on
                                                                                              Cox.com for deta ils.
   New Charges: Dec 26, 2023 - Jan 25, 2024
   Internet                                                             $103.99
   One Ti me Charges and Credits                                         -$30.00
  Ta xes, Fees and Surcharges                                              $1.67
   New Charges                                                            $75.66
  Total Due By Jan 17, 2024                                             $151.32




                                                                                                Thank you for being a Cox Paperless customer!



                                                                                     Decembe r 26, 2023 bill for Ed w ard Richmond

C O X~                                                                               Account Num ber
                                                                                     Service at

                                                                                                       BATON ROUG E, LA 70807-3761
     Save Time! Save Money! Toke control! Enroll in EasyPay - once you set It
     you'll never forget 11. Your bill is automoricolly paid each monrh on the day
     it's due. Sign up roday at WVf'N cox comtjbill!
                                                                                     Total Due By J a n 17, 2024                          $151.32




                                                                                     (NOT FOR CORRESPONDENCE)
                                                                                     COX COMMUNICATIONS
                                                                                     PO BOX 9001079
                                                                                     LOUISVILLE, KY 40290-1079




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                                                                O


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  exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

  away from the Capitol building and the proceedings underway inside.

         17.     At around I :00 p.m. EST, known and unknown individuals broke through the

 police lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP

 and supporting law enforcement officers there to protect the U.S. Capitol.

         18.     At around I :30 p.m. EST, USCP ordered Congressional staff to evacuate the

 House Cannon Office Building and the Library of Congress James Madison Memorial Building

 in part because of a suspicious package found nearby. Pipe bombs were later found near both the

 Democratic National Committee and Republican National Committee headquarters.

         19.     Media reporting showed a group of individuals outside of the Capitol chanting,

 "Hang Mike Pence." I know from this investigation that some individuals believed that Vice

 President Pence possessed the ability to prevent the certification of the presidential election and

 that his failure to do so made him a traitor.

        20.     At approximately 2:00 p.m. EST, some people in the crowd forced their way

 through, up, and over the barricades and law enforcement. The crowd advanced to the exterior

 fa~ade of the building.   The crowd was not lawfully authorized to enter or remain in the building

 and, prior to entering the building, no members of the crowd submitted to security screenings or

 weapons checks by U.S. Capitol Police Officers or other authorized security officials. At such

 time, the certification proceedings were still underway, and the exterior doors and windows of

 the U.S. Capitol were locked or otherwise secured. Members of law enforcement attempted to

 maintain order and keep the crowd from entering the Capitol.



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                                                                                       P



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         21.     Shortly after 2:00 p.m. EST, indiv idua ls in the crowd forced entry into the U.S.

  Capitol, in cluding by breaking w indows and by assaulting members of law enforcement, as

 othe rs in the crowd encouraged and assisted those acts. Publicly availab le v ideo footage shows

 a n unknown individual saying to a crowd outs ide the Capi tol bu ilding, "We' re gonna fu cking

 take this," which your affi ant believes was a reference to "taking" the U.S. Capitol.




        22.     Shortly thereafter, at approximately 2:20 p.m. EST, members of the United States

 Ho use of Representatives and United States Se nate, including the Pres ident of the Senate, V ice

 President M ike Pence, were instructed to- a nd d id-evacua te the cham bers. T hat is, at or about

 th is time, USCP ordered all nearby staff, Senato rs, and reporters into the Senate chamber and

 locked it down.   USCP ordered a s imilar lockdown in the House chamber.          As the subjects

 attempted to break into the House chamber, by breaking the w indows on the chamber door, law

                                                 7




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  enforcement was forced to draw their weapons to protect the victims sheltering inside.

            23.   At approximately 2:30 p.m. EST, known and unknown subjects broke windows

 and pushed past USCP and supporting law enforcement officers forcing their way into the U.S.

 Capitol on both the west side and the east side of the building. Once inside, the subjects broke

 windows and doors, destroyed property, stole property, and assaulted federal police officers.

 Many of the federal police officers were injured, and several were admitted to the hospital. The

 subjects also confronted and terrorized members of Congress, Congressional staff, and the

 media.      The subjects carried weapons including tire irons, sledgehammers, bear spray, and

 Tasers.     They also took police equipment from overrun police including shields and police

 batons. At least one of the subjects carried a handgun with an extended magazine. These actions

 by the unknown individuals resulted in the disruption and ultimate delay of the vote

 Certification.

           24.    Also, at approximately 2:30 p.m. EST, USCP ordered the evacuation of

 lawmakers, Vice President Mike Pence, and president pro tempore of the Senate, Charles

 Grassley, for their safety.

           25.    At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

 Pelosi.

           26.    At around 2:47 p.m. EST, subjects broke into the United States Senate Chamber.

 Publicly available video shows an individual asking, "Where are they?" as they opened up the

 door to the Senate Chamber. Based upon the context, law enforcement believes that the word

 "they" is in reference to members of Congress.



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                                                                  Q




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